            Case 5:22-cv-00127-gwc Document 1 Filed 06/28/22 Page 1 of 4


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                            T]NITED STATES DISTRICT COT]RT                              r.LEO
                                            FOR THE                            BLffi28       &r{   Iht
                                    DISTRICT OF YERMONT                                 CLERfl


JENNIFER L. WALSII                            )
Plaintiff                                     )
                                              )
v.                                            )
                                              )        Docket No.              1W"B-l
SMUGGLERS'NOTCH                )
MANAGEMENT COMPANY, Ltd.       )
dlbla SMUGGLERS' NOTCH RESORT, )
Defendant                      )

                                          COMPLAINT

         NOW COMES Plaintife Jennifer L. Walsh, and hereby complains against Defendant,

Smugglers' Notch Management Company,Ltd., d/b/a Smuggler's Notch Resort, as follows:

                                           Jurisdiction

         1.    This action is brought pursuant to 28 U.S.C. $ 1332.

         2.    At all times material to this Complaint, Jennifer L. Walsh (hereinafter "Plaintiff')

was a resident of New York State.

         3.     Smugglers' Notch Management Company,Ud., d/b/a Smuggler's Notch Resort,

(hereinafter "Defendant") is a corporation with a principal place of business located in

Cambridge, Vermont, that operates of a full-season destination resort.

         4.    The amount in controversy is in excess of $75,000.00 exclusive of interest and

costs.

                                              Venue

         5.    This action arises from a fall resulting in personal injuries sustained at

Defendant's resort in Cambridge, Vermont, on July 79,2A19.



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            Case 5:22-cv-00127-gwc Document 1 Filed 06/28/22 Page 2 of 4



                                                  Facts

       6.      On July 19,2019, Plaintiffwas a residential guest at the Smuggler's Notch resort.

       7.      On that day, Plaintiff arranged for her son to use an amusement called the

"Eurobungy" located at the Notchville Park facility at the resort.

       8.      The Eurobungy consisted of a tall, colorful engineered structure outfiued with

bungee-jumping platforms situated above an array of brightly hued trampolines, where users

bounced up and down in the air while wearing harnesses connected to bungee cords secured to

the structure's overarching angular frame.

       9.      Immediately next to the Eurobungy, the Defendant had created an observation

area so that parents and other interested people could watch the jumpers and take pictures and

videos as they repeatedly dropped down from their perches on the elevated structure to the

trampolines on the ground, bounced off of them, and then rose back up high into the air.

        19.    This observation area consisted of a leveled patch of ground on a mountainside

plateau surfaced by dirt and covered by woodchips or mulch that overlooked a small gorge, the

edge of which was protected by a split-rail wooden guardrail.

       20.      When it came time for Plaintiff s son to take his hrrn on the Eurobungy, the

Plaintiffprepared to take pictures of his jump.

       21.     Finding that she needed a little more room for her photo, the Plaintiff stepped

backwards.

       22.     As the Plaintifftook this step, her foot went into a depression in the ground,

destabilizing her and causing her to lose her balance and fall backwards against the guardrail.

       23.     However, the guardrail failed, breaking apafiandallowing the Plaintiff to topple

un-arrested backwards over the edge and down into the gorge.



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             Case 5:22-cv-00127-gwc Document 1 Filed 06/28/22 Page 3 of 4



        24.     Due to this fall, the Plaintiff, without limitation, suffered severe and permanent

disfiguring and disabling injuries, incurred medical bills and economic losses, experienced pain,

suffering and the loss of enjoyment of life, and experienced other harms and losses, which

continue.

                                        COI]NT I _ NEGLIGENCE

        25.     Plaintiffrepeats and realleges each and every allegation contained in paragraphs

l-24 of her Complaint   as   if fully   set forth and reproduced herein.

        26.     Defendant had a duty to provide its guests with walkways and similar areas and

facilities compliant with applicable building, architectural, design and engineering codes,

customs, safety and maintenence standards, as well as with regulations under both federal and

state law.

        27.     Defendant breached this duty by failing to provide and maintain a surface at the

observation area that was stable, planar, flush and capable of safely sustaining intended loads,

but rather one that, due to deviations from this standard, created a concealed trryhazardunder

circumstances where users' attention has been intentionally directed to a remote attraction.

        28.     Due to these deficiencies in the design and maintenance of the surface of the

observation area, Plaintiff s footing was destabilized, causing her to fall.

        29.     As the Plaintiffs momentum propelled her backwards towards the edge of the

gorge behind her position on the observation area, she came into contact with the guardrail along

its edge.

        30.     However, rather than maintaining its structural integrity, the guardrail collapsed,

thus failing to prevent or restrain the Plaintiff from falling further backwards and into the gorge.

        29.     The guardrail collapsed because it had not been adequately maintained.



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           Case 5:22-cv-00127-gwc Document 1 Filed 06/28/22 Page 4 of 4



        30.     The Defendant was aware of the degraded condition of the guardrail prior to the

Plaintiffs fall but   had failed to repair it.

        31.     As with the walking surface, the condition of the guardrail was also a breach        of

the Defendant's duEi to maintain sidewalks, walkways, stairs, driving areas, parking areas and

similar features in a proper state of repair and free from hazardous conditions.

        32.     Defendant's design, configuration and maintenance of the observation area was a

breach of its duty and directly and proximately caused Plaintiff s injuries, damages, harrns and

losses, as described above.

        WIIEREFORE the Plaintiffrequests this Court to enter judgment for all relief necessary

to make her whole, with an award of compensatory damages, past, present and future, including

but not limited to medical bills and expenses, lost wages, lost employment benefits, pain and

suffering, disfigurement, impairment, loss of enjoyment and other damages, together with

prejudgrnent interest, costs and expenses, and all other such relief as this Court may deem just.

        DATED at Jeffersonville, Vermont, this           ZXfff"t"r[|g{fi

                                                              Law Offices of Steven A. Bredice PLC
                                                              17 GW Tatro Drive
                                                              PO Box 519
                                                              Jeffersonville, Vermo nt 0 5 464

                                             JT]RY DEMAND

        Plaintiff demands a Trial by Ju.y on all issues so triable.


                                                              Bv:
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